     Case 2:11-cr-02079-WFN      ECF No. 630   filed 02/24/12   PageID.2077 Page 1 of 2


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6
                             UNITED STATES DISTRICT COURT
7
                         EASTERN DISTRICT OF WASHINGTON
8

9      UNITED STATES OF AMERICA                  )
                                                 ) NO. 11-cr-2079-WFN
10                          Plaintiff,           )
11
                                                 )
          v.                                     ) ORDER (Ct Rec. 619)
12                                               )
       JOAQUIN MENDOZA,                          )
13
                                                 )
14                          Defendant.           )

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          THIS MATTER having come on before this Court on the Motion of
       Defendant Joaquin Larios-Mendoza to Modify Conditions of Release, filed
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       February 10, 2012.
19
          NOW THEREFORE, IT IS HEREBY ORDERED ADJUDGED AND
20
       DECREED that the Motion to Modify Conditions of Release is granted. (Ct
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       Rec. 619) Defendant shall have no further obligation to pay $100 per month
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       contribution towards attorney’s fees.
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       ORDER • Page 1
     Case 2:11-cr-02079-WFN     ECF No. 630    filed 02/24/12   PageID.2078 Page 2 of 2



1         IT IS FURTHER ORDERED that the Eastern District of Washington’s

2      Clerk’s Office provide a copy of this Order to the Central District of California

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       to be filed under case number 11-MJ-01690.

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          DONE IN OPEN COURT THIS 24th day of February, 2012.
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6
                                               s/James P. Hutton
7                                             U.S. Magistrate Judge

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10        Respectfully Submitted:
11          s/Jeffry K. Finer
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          Jeffry K. Finer, WSBA No. 14610
          Attorney for Defendant Joaquin Larios-Mendoza
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       ORDER • Page 2
